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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

                                            CASE NO.

VICTOR ARIZA,

       Plaintiff,

vs.

CORPO BONITO, LLC., a Florida
limited liability company,

      Defendant.
________________________________/

                                          COMPLAINT

       Plaintiff VICTOR ARIZA, through undersigned counsel, sues Defendant CORPO

BONITO, LLC., a Florida limited liability company, and alleges as follows:

       1.      This is an action for declaratory and injunctive relief, attorney’s fees, costs, and

litigation expenses for unlawful disability discrimination in violation of Title III of the Americans

with Disabilities Act, 42 U.S.C. §§12181-12189 (“ADA”), as amended, and 28 C.F.R. Part 36.

       2.      This Court has jurisdiction over this case based on federal question jurisdiction, 28

U.S.C. §1331, and the provisions of the ADA. Plaintiff seeks declaratory and injunctive relief

pursuant to 28 U.S.C. §§2201 and 2202. In addition, this Court has supplementary jurisdiction

over Plaintiff’s common law tort claim pursuant to 28 U.S.C. §1367.

       3.      Venue is proper in this Court as all actions complained of herein and injuries and

damages suffered occurred in the Middle District of Florida.

       4.      Plaintiff VICTOR ARIZA is a resident of Miami-Dade County, Florida, is sui juris,

and is disabled as defined by the ADA and ADA Amendments Act of 2008, 42 U.S.C. §12101



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(“ADAAA”). Although Plaintiff resides in Miami-Dade County, Florida, he frequently travels to

and sometimes stays with friends in the Orlando, Florida area, specifically in Kissimmee, Florida.

His most recent trip to the Orlando area was in September 2023, and he intends to regularly revisit

the area, including making trips in November and/or December 2023.

       5.      Plaintiff is and at all relevant times has been blind and visually disabled in that he

suffers from optical nerve atrophy, a permanent eye disease and medical condition that

substantially and significantly impairs his vision and limits his ability to see. Plaintiff thus is

substantially limited in performing one or more major life activities, including, but not limited to,

seeing, accurately visualizing his world, and adequately traversing obstacles. As such, he is a

member of a protected class under the ADA, 42 U.S.C. §12102(1)-(2), the regulations

implementing the ADA set forth at 28 CFR §§36.101, et seq., and 42 U.S.C. §3602(h). Plaintiff

further is an advocate of the rights of similarly situated disabled persons and is a “tester” for the

purposes of asserting his civil rights and monitoring, ensuring, and determining whether places of

public accommodation and/or their respective and associated websites are in compliance with the

ADA and any other applicable disability laws, regulations, and ordinances.

       6.      Because he is blind, Plaintiff cannot use his computer without the assistance of

appropriate and available auxiliary aids, screen reader software, and other technology and

assistance. Screen reader software translates the visual internet into an auditory equivalent. At a

rapid pace, the software reads the content of a webpage to the user. “The screen reading software

uses auditory cues to allow a visually impaired user to effectively use websites. For example, when

using the visual internet, a seeing user learns that a link may be ‘clicked,’ which will bring him to

another webpage, through visual cues, such as a change in the color of the text (often text is turned

from black to blue). When the sighted user's cursor hovers over the link, it changes from an arrow



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symbol to a hand. The screen reading software uses auditory -- rather than visual -- cues to relay

this same information. When a sight impaired individual reaches a link that may be ‘clicked on,’

the software reads the link to the user, and after reading the text of the link says the word

‘clickable.’…Through a series of auditory cues read aloud by the screen reader, the visually

impaired user can navigate a website by listening and responding with his keyboard.” Andrews v.

Blick Art Materials, LLC, 286 F.Supp.3d 365, 374 (E.D.N.Y. 2017).

       7.      Defendant is a Florida limited liability company authorized to do business and

doing business in the State of Florida. Defendant owns, operates, and/or controls two retail stores

selling swimwear and accessories, including the store Plaintiff intended to patronize in the near

future, located in The Florida Mall at 8001 South Orange Blossom Trail, Suite 364, Orlando,

Florida.

       8.      Plaintiff’s visual disability limits him in the performance of major life activities,

including sight, and he requires assistive technologies, auxiliary aids, and services for effective

communication, including communication in connection with his use of a computer.

       9.      Plaintiff frequently accesses the internet. Because he is blind, to effectively

communicate and comprehend information available on the internet and thereby access and

comprehend websites, Plaintiff uses commercially available screen reader software to interface

with the various websites.

       10.     At all times material hereto, Defendant was and still is an organization that owns,

operates, and/or controls two retail stores selling swimwear and accessories under the name

“Corpo Bonito”. Each “Corpo Bonito” store is open to the public. As the owner, operator, and/or

controller of these retail stores, Defendant is defined as a place of “public accommodation" within

meaning of the ADA because Defendant is a private entity which owns and/or operates “a bakery,



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grocery store, clothing store, hardware store, shopping center, or other sales or rental

establishment,” per 42 U.S.C. §12181(7)(E) and 28 C.F.R. §36.104.

       11.     Because Defendant is a store open to the public, it is a place of public

accommodation subject to the requirements of the ADA, 42 U.S.C. §12182, §12181(7)(E), and its

implementing regulations, 28 C.F.R. Part 36.

       12.     Defendant also owns, controls, maintains, and/or operates an adjunct website,

https://corpobonitowear.com (the “Website”). One of the functions of the Website is to provide

the public information on the location of Defendant’s stores. . Defendant also sells to the public

its merchandise through the Website, which acts as a critical point of sale for merchandise that is

also available in, from, and through Defendant’s physical stores. In addition, the Website allows

the public to sign up for an emailer to receive exclusive online offers, benefits, invitations, and

discounts for use online and in the physical stores .

       13.     The Website also services Defendant’s physical stores by providing information on

available products, services, tips and advice, editorials, sales campaigns, events, and other

information that Defendant is interested in communicating to its customers.

       14.     Because the Website allows the public the ability to secure information about the

locations of Defendant’s physical stores, purchase merchandise also available for purchase in and

from the physical stores, and sign up for an emailer to receive exclusive online offers, benefits,

invitations, and discounts for use online and in the physical stores, the Website has a nexus to, and

is an extension of and gateway to, the goods, services, privileges, and advantages of Defendant’s

physical stores, which are places of public accommodation under the ADA. As an extension of

and service, privilege, and advantage provided by a place of public accommodation as defined

under the ADA, the Website is an extension of the services, privileges, and advantages made



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available to the general public by Defendant at and through its brick-and-mortar locations and

businesses. Furthermore, the Website is a necessary service and privilege of Defendant’s physical

stores in that, as a critical point of sale for the stores, it enables users of the Website to make online

purchases of Defendant’s merchandise that is also available in and from its physical stores.

        15.     Because the public can view and purchase Defendant’s goods through the Website

that are also offered for sale in Defendant’s physical stores, thus having the Website act as a point

of sale for Defendant’s products that are also sold in the physical stores, and sign up for an emailer

to receive exclusive online offers, benefits, invitations, and discounts for use online and in the

physical stores, the Website is an extension of, and gateway to the physical stores, which are places

of public accommodation pursuant to the ADA, 42 U.S.C. §12181(7)(E). As such, the Website is

a necessary service, privilege, and advantage of Defendant’s brick-and-mortar stores that must

comply with all requirements of the ADA, must not discriminate against individuals with visual

disabilities, and must not deny those individuals the same full and equal access to and enjoyment

of the goods, services, privileges, and advantages afforded the non-visually disabled public both

online and in the physical stores.

        16.     At all times material hereto, Defendant was and still is an organization owning,

operating, and/or controlling the Website. Since the Website is open to the public through the

internet, by this nexus the Website is an intangible service, privilege, and advantage of Defendant’s

brick-and-mortar stores that must comply with all requirements of the ADA, must not discriminate

against individuals with visual disabilities, and must not deny those individuals the same full and

equal access to and enjoyment of the goods, services, privileges, and advantages as are afforded

the non-visually disabled public both online and in the physical stores. As such, Defendant has

subjected itself and the Website to the requirements of the ADA.



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          17.   Plaintiff is and has been a customer who is interested in patronizing, and intends to

patronize in the near future once the Website’s access barriers are removed or remedied,

Defendant’s physical store located in the Florida Mall in Orlando, Florida, and to search for the

brick-and-mortar stores, check store hours and merchandise pricing, purchase merchandise, and

sign up for an emailer to receive exclusive offers, benefits, invitations, and discounts for use at the

Website or in Defendant’s physical stores. In the alternative, Plaintiff intends to monitor the

Website in the near future as a tester to ascertain whether it has been updated to interact properly

with screen reader software.

          18.   The opportunity to shop and pre-shop Defendant’s merchandise and sign up for an

emailer to receive exclusive online offers, benefits, invitations, and discounts for use both online

and in the physical stores from his home are important and necessary accommodations for Plaintiff

because traveling outside of his home as a blind individual is often a difficult, hazardous,

frightening, frustrating, and confusing experience. Defendant has not provided its business

information in any other digital format that is accessible for use by blind and visually disabled

individuals using screen reader software.

          19.   Like many consumers, Plaintiff accesses a number of websites at a time to help plan

his store visits and to compare merchandise, prices, sales, services, discounts, and promotions.

Plaintiff may look at several dozen websites to compare features, discounts, promotions, and

prices.

          20.   Beginning in September 2023, Plaintiff attempted on a number of occasions to

utilize the Website to browse through the merchandise and online offers to educate himself as to

the merchandise, sales, services, discounts, and promotions being offered, learn about the brick-

and-mortar stores, check store hours, and check merchandise pricing with the intent to make a



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purchase through the Website or in and from the physical stores. Plaintiff also attempted to access

and utilize the Website in his capacity as a tester to determine whether it was accessible to blind

and visually disabled persons such as himself who use screen reader software to access and

navigate company websites.

       21.     Plaintiff utilizes available screen reader software that allows individuals who are

blind and visually disabled to communicate with websites. However, Defendant’s Website

contains access barriers that prevent free and full use by blind and visually disabled individuals

using keyboards and available screen reader software. These barriers are pervasive and include,

but are not limited to:

       a. Text throughout the Website that is mislabeled; the cursor skips the information and
       navigates to the nearest accessible link, button, or header;

       b. A mislabeled logo on the Website, which acts as a link to the homepage; the screen
       reader does not relay the logo’s purpose, which is to create a way to return to the Website’s
       homepage;

       c. Mislabeled product images that do not integrate with the screen reader; the image
       descriptions do not describe the items fully or explain the images;

       d. Product pricing descriptors that are not labeled for integration with the screen reader;
       and

       e. Product sizes that are improperly labeled as they offer the size as an abbreviated letter
       (e.g., S = small, M = medium, L = large, etc.); when the screen reader interprets the
       sizing information, it will read “cap s”, “cap m”, or “cap l” and not the actual size or
       explanation/descriptions of the size feature or what it pertains to.



       22.     Plaintiff attempted to locate an “accessibility” notice, statement, or policy on the

Website that would direct him to a webpage with contact information for disabled individuals who

have questions or concerns about, or who are having difficulties communicating with, the Website.




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However, Plaintiff was unable to do so because no such link or notice, statement, or policy existed

on the Website.

       23.     The fact that Plaintiff could not communicate with or within the Website left him

feeling excluded, frustrated, and humiliated, and gave him a sense of isolation and segregation, as

he is unable to participate in the same shopping experience, with the same access to the

merchandise, sales, services, discounts, and promotions, as provided at the Website and for use in

the physical stores as the non-visually disabled public.

       24.     Plaintiff desires and intends, in the near future once the Website’s access barriers

are removed or remedied, to patronize Defendant’s Orlando physical store and to use the Website,

but he is presently unable to fully do so as he is unable to effectively communicate with Defendant

due to his blindness and the Website’s access barriers. Alternatively, as a tester using screen reader

software, Plaintiff is unable to effectively access, navigate, and communicate with Defendant

through the Website due to his blindness and the Website’s access barriers. Thus, Plaintiff and

others who are blind and with visual disabilities will suffer continuous and ongoing harm from

Defendant’s intentional acts, omissions, policies, and practices as set forth herein unless properly

enjoined by this Court.

       25.     Because of the nexus between Defendant’s retail stores and the Website, and the

fact that the Website clearly provides support for and is connected to Defendant’s retail stores for

its operation and use, the Website is an intangible service, privilege, and advantage of Defendant’s

brick-and-mortar stores that must comply with all requirements of the ADA, must not discriminate

against individuals with disabilities, and must not deny those individuals the same full and equal

access to and enjoyment of the goods, services, privileges, and advantages as afforded the non-




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visually disabled public both online and in the physical stores, which are places of public

accommodation subject to the requirements of the ADA.

        26.     On information and belief, Defendant has not initiated a Web Accessibility Policy

to ensure full and equal use of the Website by individuals with disabilities.

        27.     On information and belief, Defendant has not instituted a Web Accessibility

Committee to ensure full and equal use of Website by individuals with disabilities.

        28.     On information and belief, Defendant has not designated an employee as a Web

Accessibility Coordinator to ensure full and equal use of the Website by individuals with

disabilities.

        29.     On information and belief, Defendant has not instituted a Web Accessibility User

Accessibility Testing Group to ensure full and equal use of the Website by individuals with

disabilities.

        30.     On information and belief, Defendant has not instituted a User Accessibility

Testing Group to ensure full and equal use of the Website by individuals with disabilities.

        31.     On information and belief, Defendant has not instituted a Bug Fix Priority Policy.

        32.     On information and belief, Defendant has not instituted an Automated Web

Accessibility Testing program.

        33.     Defendant has not created and instituted a Specialized Customer Assistance line or

service or email contact mode for customer assistance for the visually disabled.

        34.     Defendant has not created and instituted on the Website a page for individuals with

disabilities, nor displayed a link and information hotline, nor created an information portal

explaining when and how Defendant will have the Website, applications, and digital assets

accessible to the visually disabled and blind communities.



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       35.     The Website does not meet the Web Content Accessibility Guidelines (“WCAG”)

2.0 Level AA or higher versions of web accessibility.

       36.     Defendant has not disclosed to the public any intended audits, changes, or lawsuits

to correct the inaccessibility of the Website to visually disabled individuals who want the safety

and privacy of purchasing Defendant’s merchandise offered on the Website and in the physical

stores from their homes.

       37.     Defendant thus has not provided full and equal access to, and enjoyment of, the

goods, services, facilities, privileges, advantages, and accommodations provided by and through

the Website and the physical stores in contravention of the ADA.

       38.     Public accommodations under the ADA must ensure that their places of public

accommodation provide effective communication for all members of the general public, including

individuals with visual disabilities such as Plaintiff.

       39.     The broad mandate of the ADA is to provide equal opportunity for individuals with

disabilities to participate in and benefit from all aspects of American civic and economic life. That

mandate extends to internet shopping websites such as the Website at issue in the instant action.

       40.     Defendant is, and at all relevant times has been, aware of the barriers to effective

communication within the Website which prevent individuals with visual disabilities from the

means to comprehend information presented therein.

       41.     Defendant is, and at all relevant times has been, aware of the need to provide full

access to all visitors to the Website.

       42.      The barriers that exist on the Website result in discriminatory and unequal

treatment of individuals with visual disabilities, including Plaintiff.




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       43.     Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs

alleged hereinabove, and this suit for declaratory judgment and injunctive relief is his only means

to secure adequate and complete redress from Defendant’s unlawful and discriminatory practices

in connection with its website access and operation.

       44.     Notice to Defendant is not required because of Defendant’s failure to cure the

violations.

       45.     Enforcement of Plaintiff’s rights under the ADA is right and just pursuant to 28

U.S.C. §§2201 and 2202.

       46.     Plaintiff has retained the undersigned attorneys to represent him in this case and

has agreed to pay them a reasonable fee for their services.

                           COUNT I – VIOLATION OF THE ADA

       47.     Plaintiff re-alleges paragraphs 1 through 46 as if set forth fully herein.

       48.     Pursuant to 42 U.S.C. §12181(7)(E), Defendant is a public accommodation under

the ADA and thus is subject to the ADA.

       49.     Pursuant to 42 U.S.C. §12181(7)(E), the Website is covered under the ADA

because it provides the general public with the ability to locate and learn about Defendant’s stores,

purchase merchandise online that is also available for purchase in and from the physical stores,

and sign up for an emailer to receive exclusive online offers, benefits, invitations, and discounts

for use both online and in the physical stores. The Website thus is an extension of, gateway to,

and intangible service, privilege, and advantage of Defendant’s physical stores. Further, the

Website serves to augment Defendant’s physical stores by providing the public information about

the physical stores and by educating the public as to Defendant’s available merchandise sold

through the Website and in and from the physical stores.



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       50.     Under Title III of the ADA, 42 U.S.C. §12182(b)(1)(A)(II), it is unlawful

discrimination to deny individuals with disabilities or a class of individuals with disabilities an

opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

or accommodation, which is equal to the opportunities afforded to other individuals.

       51.     Specifically, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(II), unlawful

discrimination includes, among other things, “a failure to make reasonable modifications in

policies, practices, or procedures, when such modifications are necessary to afford such goods,

services, facilities, privileges, advantages, or accommodations to individuals with disabilities,

unless the entity can demonstrate that making such modifications would fundamentally alter the

nature of such goods, services, facilities, privileges, advantages or accommodations.”

       52.     In addition, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(III), unlawful

discrimination includes, among other things, “a failure to take such steps, as may be necessary to

ensure that no individual with a disability is excluded, denied services, segregated or otherwise

treated differently than other individuals because of the absence of auxiliary aids and services,

unless the entity can demonstrate that taking such steps would fundamentally alter the nature of

the good, service, facility, privilege, advantage, or accommodation being offered or would result

in an undue burden.”

       53.     Defendant’s Website must comply with the ADA, but it does not as specifically

alleged hereinabove and below.

       54.     Because of the inaccessibility of the Website, individuals with visual disabilities

are denied full and equal access to, and enjoyment of, the goods, information, and services that

Defendant has made available to the public on the Website and in the physical stores in violation

of 42 U.S.C. §12101, et seq, and as prohibited by 42 U.S.C. §12182, et seq.



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        55.     The Website was subsequently visited by Plaintiff’s expert in September 2023 and

the expert determination was that the same access barriers that Plaintiff had initially encountered,

as well as numerous additional access barriers, existed. Defendant thus has made insufficient

material changes or improvements to the Website to enable its full use and enjoyment by, and

accessibility to, blind and visually disabled persons such as Plaintiff. Defendant furthermore has

not disclosed to the public any intended audits, changes, or lawsuits to correct the inaccessibility

of the Website to visually disabled individuals, nor has it posted on the Website an effective

“accessibility” notice, statement, or policy to provide blind and visually disabled person such as

Plaintiff with a viable alternative means to access and navigate the Website. Defendant thus has

failed to make reasonable modifications in its policies, practices, or procedures when such

modifications are necessary to afford goods, services, facilities, privileges, advantages, or

accommodations to individuals with disabilities, in violation of 28 C.F.R. §36.302. The lack of a

viable and effective “accessibility” notice, policy, or statement and the numerous access barriers

as alleged herein and as set forth in the Declaration of Plaintiff’s expert, Robert D. Moody, attached

hereto as Composite Exhibit “A” and the contents of which are incorporated herein by reference,

continue to render the Website not fully accessible to users who are blind and visually disabled,

including Plaintiff.

        56.     More violations may be present on other pages of the Website, which can and will

be determined and proven through the discovery process in this case.

        57.     Further, the Website does not offer or include the universal symbol for the disabled

that would permit disabled individuals to access the Website’s accessibility information and

accessibility facts.




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       58.     There are readily available, well-established guidelines on the internet for making

websites accessible to the blind and visually disabled. These guidelines have been followed by

other large business entities in making their websites accessible. Examples of such guidelines

include, but are not limited to, adding alt-text to graphics and ensuring that all functions can be

performed using a keyboard. Incorporating such basic components to make the Website accessible

would neither fundamentally alter the nature of Defendant’s business nor would it result in an

undue burden to Defendant.

       59.     Defendant has violated the ADA -- and continues to violate the ADA -- by denying

access to the Website by individuals such as Plaintiff with visual disabilities who require the

assistance of interface with screen reader software to comprehend and access internet websites.

These violations within the Website are ongoing.

       60.     The ADA requires that public accommodations and places of public

accommodation ensure that communication is effective.

       61.     According to 28 C.F.R. §36.303(b)(1), auxiliary aids and services include “voice,

text, and video-based telecommunications products and systems”.                 Indeed, 28 C.F.R.

§36.303(b)(2) specifically states that screen reader software is an effective method of making

visually delivered material available to individuals who are blind or have low vision.

       62.     According to 28 C.F.R. §36.303(c), public accommodations must furnish

appropriate auxiliary aids and services where necessary to ensure effective communication with

individuals with disabilities: “In order to be effective, auxiliary aids and services must be provided

in accessible formats, in a timely manner, and in such a way as to protect the privacy and

independence of the individual with a disability,” 28 C.F.R. §36.303(c)(1)(ii).




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       63.     Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate

subtitle A of Title III of the ADA, which prohibits discrimination on the basis of disability by

public accommodations, and requires places of public accommodation to be designed, constructed,

and altered in compliance with the accessibility standards established by Part 36.

       64.     As alleged hereinabove, the Website has not been designed to interface with the

widely and readily available technologies that can be used to ensure effective communication and

thus violates the ADA.

       65.     As a direct and proximate result of Defendant’s failure to provide an ADA

compliant Website, with a nexus to its brick-and-mortar stores, Plaintiff has suffered an injury in

fact by being denied full and equal access to, enjoyment of, and communication with Defendant’s

Website and its physical stores.

       66.     Because of the inadequate development and administration of the Website, Plaintiff

is entitled to injunctive relief pursuant to 42 U.S.C. §12133 and 28 C.F.R. §36.303, to remedy the

ongoing disability discrimination.

       67.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

Plaintiff appropriate and necessary injunctive relief, including an order to:

       a) Require Defendant to adopt and implement a web accessibility policy to make publicly

available, and directly link from the homepage of the Website, a functional statement of the policy

to ensure persons with disabilities have full and equal access to and enjoyment of the goods,

services, facilities, privileges, advantages, and accommodations through the Website and the

physical stores.

       b) Require Defendant to take the necessary steps to make the Website readily accessible

to and usable by blind and visually disabled users, and during that time period prior to the Website



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being made readily accessible, provide an alternative method for individuals with visual

disabilities to access the information available on the Website until such time that the requisite

modifications are made, and

       c) Require Defendant to provide the appropriate auxiliary aids such that individuals with

visual disabilities will be able to effectively communicate with the Website for purposes of

viewing and locating Defendant’s physical stores and becoming informed of and purchasing

Defendant’s merchandise, and during that time period prior to the Website being designed to

permit individuals with visual disabilities to effectively communicate, to provide an alternative

method for individuals with visual disabilities to effectively communicate for such goods and

services made available to the general public through the Website and in the physical stores.

       68.      Plaintiff is entitled to recover his reasonable attorney’s fees, costs, and expenses

pursuant to the ADA. To that end, Plaintiff has been obligated to retain the undersigned counsel

for the filing and prosecution of this action and has agreed to pay them a reasonable fee for their

services.

       WHEREFORE, Plaintiff requests entry of judgment in his favor and against Defendant for

the following relief:

       A. A declaration that Defendant’s Website is in violation of the ADA;

       B. An Order requiring Defendant, by a date certain, to update the Website, and continue

             to monitor and update the Website on an ongoing basis, to remove barriers in order that

             individuals with visual disabilities can access, and continue to access, the Website and

             effectively communicate with the Website to the full extent required by Title III of the

             ADA;




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      C. An Order requiring Defendant, by a date certain, to clearly display the universal

         disabled logo within the Website, wherein the logo1 would lead to a page which would

         state Defendant’s accessibility information, facts, policies, and accommodations. Such

         a clear display of the disabled logo is to ensure that individuals who are disabled are

         aware of the availability of the accessible features of the Website;

      D. An Order requiring Defendant, by a date certain, to provide ongoing support for web

         accessibility by implementing a Website accessibility coordinator, a Website

         application accessibility policy, and providing for Website accessibility feedback to

         ensure compliance thereto;

      E. An Order directing Defendant, by a date certain, to evaluate its policies, practices and

         procedures toward persons with disabilities, for such reasonable time to allow

         Defendant to undertake and complete corrective procedures to its Website;

      F. An Order directing Defendant, by a date certain, to establish a policy of web

         accessibility and accessibility features for the Website to ensure effective

         communication for individuals who are visually disabled;

      G. An Order requiring, by a date certain, that any third-party vendors who participate on

         Defendant’s Website to be fully accessible to the visually disabled;

      H. An Order directing Defendant, by a date certain and at least once yearly thereafter, to

         provide mandatory web accessibility training to all employees who write or develop

         programs or code for, or who publish final content to, the Website on how to conform




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                  or similar.
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          all web content and services with ADA accessibility requirements and applicable

          accessibility guidelines;

       I. An Order directing Defendant, by a date certain and at least once every three months

          thereafter, to conduct automated accessibility tests of the Website to identify any

          instances where the Website is no longer in conformance with the accessibility

          requirements of the ADA and any applicable accessibility guidelines, and further

          directing Defendant to send a copy of the twelve (12) quarterly reports to Plaintiff’s

          counsel for review;

       J. An Order directing Defendant, by a date certain, to make publicly available and directly

          link from the Website homepage, a statement of Defendant’s Accessibility Policy to

          ensure the persons with disabilities have full and equal enjoyment of the Website and

          shall accompany the public policy statement with an accessible means of submitting

          accessibility questions and problems;

       K. An award to Plaintiff of his reasonable attorney’s fees, costs and expenses; and

       L. Such other and further relief as the Court deems just and equitable.

       DATED: November 7th , 2023.

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